       Case 1:25-cv-00402-AHA        Document 91       Filed 06/12/25    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA




 GLOBAL HEALTH COUNCIL, et al.,

                       Plaintiffs,
                                                             Civil Action No. 25-cv-402 (AHA)
                v.

 DONALD J. TRUMP, et al.,

                       Defendants.




                               NOTICE OF APPEARANCE

       Please enter the appearance of the undersigned counsel for Defendants in the above-

captioned matter. Please note the following contact information for Mr. Schopf:

       Joshua N. Schopf
       United States Department of Justice
       Civil Division, Federal Programs Branch
       1100 L Street, NW
       Washington, DC 20005
       Tel: (202) 514-6304
       Email: joshua.n.schopf@usdoj.gov




                                             1
      Case 1:25-cv-00402-AHA   Document 91   Filed 06/12/25       Page 2 of 2




Dated: June 12, 2025                     Respectfully Submitted,

                                         BRETT A. SHUMATE
                                         Assistant Attorney General

                                         ALEXANDER K. HAAS
                                         Director, Federal Programs Branch

                                         /s/ Joshua N. Schopf
                                         JOSHUA N. SCHOPF
                                         Trial Attorney
                                         United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street NW
                                         Washington, DC 20530
                                         Tel.: (202) 514-6304
                                         Email: Joshua.n.schopf@usdoj.gov


                                         Counsel for Defendants




                                     2
